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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                            Magistrate Judge Maritza Dominguez Braswell

  Civil Action No. 21–cv–02595–NYW–MDB


  CHARLES WILLIAMS,

            Plaintiff,

  v.

  COLORADO DEPARTMENT OF CORRECTIONS,

            Defendant.


                                         ORDER OF RECUSAL


            Section 455(a) of Title 28 of the United States Code states that “[a]ny justice, judge, or

  magistrate judge of the United States shall disqualify himself in any proceeding in which his

  impartiality might reasonably be questioned.” A federal judge must recuse when there is an

  appearance of bias, regardless of whether there is actual bias. Nichols v. Alley, 71 F.3d 347, 350

  (10th Cir. 1995). “The test is whether a reasonable person, knowing all the relevant facts, would

  harbor doubts about the judge’s impartiality.” Hinman v. Rogers, 831 F.2d 937, 939 (10th Cir.

  1987).

            Upon review of the file of this case, I conclude that I must recuse myself from further

  service in this matter due to my previous relationship with the Defendant.

            ORDERED that I RECUSE myself from this case, pursuant to 28 U.S.C. § 455(a). It is

  further
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         ORDERED that the Clerk of Court shall cause this case to be reassigned to another

  Magistrate Judge.

         Dated this 4th day of October, 2022.




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